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                    IN THE UNITED STATES DISTRICT OURT
                                                                                   JAN 2 B 2019
                         NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION .
                                                                             CLERK, U.S. DISTRICT COURT
TAYLOR FREELAND AND JOSH                         §                              By_ _     f);=---
                                                                                          1)epu1y
FREELAND,                                        §
                                                 §
             Plaintiffs,                         §
                                                 §
VS.                                              §   NO. 4:18-CV-845-A
                                                 §
TARRANT COUNTY, TEXAS, ET AL.,                   §
                                                 §
            Defendants.                          §


                          MEMORANDUM OPINION AND ORDER

      Came on for consideration the motion of defendants, Tarrant

County, Texas ("County") and Sheriff Bill Waybourn ("Sheriff"),

to dismiss. Plaintiffs, Taylor Freeland and Josh Freeland, have

failed to respond to the motion, which is ripe for ruling. The

court, having considered the motion, the record, and applicable

authorities, finds that the motion should be granted.

                                                I.

                                         Background

      On October 12, 2018, plaintiffs filed their original

complaint in this action, purporting to bring claims individually

and on behalf of the Estate of Billy Larae Freeland ("Freeland").

Doc. 1 1. By order signed October 24, 2018, the court ordered

plaintiffs to file a document providing proof of their authority

to proceed on behalf of Freeland's estate. Doc. 5. On November 2,



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      The "Doc.   "reference is to the number of the item on the docket in this action.
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2018, plaintiffs filed a motion for leave to file their first

amended complaint. Doc. 8. By order signed that same day, the

court granted plaintiffs leave to file an amended complaint

provided that they allege facts therein to show their authority

to proceed on behalf of Freeland's estate. Doc. 10. On November

14, 2018, defendants filed a motion to dismiss and appendix in

support thereof. Docs. 12, 13. On November 15, 2018, plaintiffs

filed a motion for leave to file their second amended complaint

in which they acknowledged that they were not the proper parties

to bring a survival action on behalf of Freeland's estate. Doc.

14. The court denied the motion as presented, but granted

plaintiffs leave to file an amended complaint. Doc. 15.

Thereafter, on November 30,     2018, plaintiffs filed their first

amended complaint. Doc.    18. Defendants' motion to dismiss was

denied as moot. Doc. 19.

     On December 11, 2018, defendants filed their motion to

dismiss plaintiffs' first amended complaint, which is now before

the court. Doc. 20. Plaintiffs have thrice sought and been

granted extensions of time in which to respond. Docs. 22, 23, 24,

25, 26, 27. They have failed to do so.




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                                    II.

                           Plaintiffs' Claims

     In their first amended complaint, plaintiffs allege:

     Their father,   Freeland, was an alcoholic. Doc. 18, , 2.

Following a conviction for driving while intoxicated, on October

18, 2017, Freeland was booked into the Tarrant County Jail. Id.

, 8. Booking documents reflect Freeland's history of alcohol

abuse and family members notified jail personnel that Freeland

was likely to suffer side effects from alcohol withdrawal. Id. On

October 20, jail records note that Freeland was unwilling to let

the nurse obtain his vital signs or assess him; that he was naked

in his cell, talking to the wall; that he was agitated, picking

at the wall and yelling at the nurse to leave him alone; and that

he was not oriented to place or time. Id.       ~I   9. On that day, he

was relocated to the infirmary floor where his condition was

monitored. Id. ,   9. On October 23, Freeland was lying on the cell

floor, experiencing hallucinations, arm tremors, and labored

breathing; he was disoriented; he was combative and resistant

during assessment by nurses. Id. After almost five days in

custody, Freeland was taken to the emergency room at JPS

Hospital. Id. , 11. He was suffering from acute respiratory and

renal failure,   was mumbling incoherently, and was essentially




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unresponsive. Id. He was placed in intensive care, but never

regained consciousness and died on November 4. Id.

        Plaintiffs allege that, as survivors, they are entitled to

recover for defendants' violation of 42 U.S.C.            §   1983 in denying

Freeland medical care to which he was entitled.

                                      III.

                            Grounds of the Motion

        Defendants urge five grounds in support of their motion.

First, the claims against Sheriff are duplicative of those

against County and must be dismissed. Second, plaintiffs have not

pleaded facts to show deliberate indifference. Third, plaintiffs

have failed to allege a plausible municipal liability claim.

Fourth, plaintiffs have failed to demonstrate standing to bring

wrongful death claims. And,        fifth, plaintiffs have not pleaded a

viable claim under the Texas Constitution. Doc. 20 at 3.

                                      IV.

                       Applicable Pleading Standards

A.      Pleading

        Rule B(a) (2) of the Federal Rules of Civil Procedure

provides, in a general way, the applicable standard of pleading.

It requires that a complaint contain "a short and plain statement

of the claim showing that the pleader is entitled to relief,"

Fed. R. Civ. P. B(a) (2),      "in order to give the defendant fair


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notice of what the claim is and the grounds upon which it rests,"

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)           (internal

quotation marks and ellipsis omitted) . Although a complaint need

not contain detailed factual allegations, the "showing"

contemplated by Rule 8 requires the plaintiff to do more than

simply allege legal conclusions or recite the elements of a cause

of action. Twombly, 550 U.S. at 555 & n.3. Thus, while a court

must accept all of the factual allegations in the complaint as

true, it need not credit bare legal conclusions that are

unsupported by any factual underpinnings. See Ashcroft v. Igbal,

556 U.S. 662, 679    (2009)   ("While legal conclusions can provide

the framework of a complaint, they must be supported by factual

allegations. ") .

     Moreover, to survive a motion to dismiss for failure to

state a claim, the facts pleaded must allow the court to infer

that the plaintiff's right to relief is plausible. Igbal, 556

U.S. at 678. To allege a plausible right to relief, the facts

pleaded must suggest liability; allegations that are merely

consistent with unlawful conduct are insufficient. Id. In other

words, where the facts pleaded do no more than permit the court

to infer the possibility of misconduct, the complaint has not

shown that the pleader is entitled to relief. Id. at 679.

"Determining whether a complaint states a plausible claim for


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relief .         [is] a context-specific task that requires the

reviewing court to draw on its judicial experience and common

sense."    Id.

     As the Fifth Circuit has explained: "Where the complaint is

devoid of facts that would put the defendant on notice as to what

conduct supports the claims, the complaint fails to satisfy the

requirement of notice pleading." Anderson v. U.S. Dep't of

Housing & Urban Dev., 554 F.3d 525, 528 (5th Cir. 2008). In sum,

"a complaint must do more than name laws that may have been

violated by the defendant; it must also allege facts regarding

what conduct violated those laws. In other words, a complaint

must put the defendant on notice as to what conduct is being

called for defense in a court of law." Id. at 528-29. Further,

the complaint must specify the acts of the defendants

individually, not collectively, to meet the pleading standards of

Rule 8(a). See Griggs v. State Farm Lloyds, 181 F.3d 694, 699

(5th Cir. 1999); see also Searcy v. Knight (In re Am. Int'l

Refinery), 402 B.R. 728, 738     (Bankr. W.D. La. 2008).

     In considering a motion to dismiss for failure to state a

claim, the court may consider documents attached to the motion if

they are referred to in the plaintiff's complaint and are central

to the plaintiff's claims. Scanlan v. Tex. A&M Univ., 343 F.3d

533, 536 (5th Cir. 2003). The court may also refer to matters of


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public record. Davis v. Bayless, 70 F.3d 367, 372 n.3                (5th Cir.

1995); Cinel v. Connick, 15 F.3d 1338, 1343 n.6            (5th Cir. 1994).

This includes taking notice of pending judicial proceedings.

Patterson v. Mobil Oil Corp., 335 F.3d 476, 481 n.1 (5th Cir.

2003). And, it includes taking notice of governmental websites.

Kitty Hawk Aircargo, Inc. v. Chao, 418 F.3d 453, 457               (5th Cir.

2005); Coleman v. Dretke, 409 F.3d 665, 667            (5th Cir. 2005).

B.      Vicarious Liability

        The law is clearly established that the doctrine of

respondent superior does not apply to          §   1983 actions.     Monell v.

New York City Dep•t of Soc. Servs., 436 U.S. 658, 691 (1978);

Williams v. Luna, 909 F.2d 121, 123          (5th Cir. 1990). Liability

may be imposed against a governmental entity only if the

governmental body itself subjects a person to a deprivation of

rights or causes a person to be subjected to such deprivation.

Connick v. Thompson, 563 U.S. 51, 60          (2011). Local governments

are responsible only for their own illegal acts. Id.               (quoting

Pembaur v. Cincinnati, 475 U.S. 469, 479            (1986)). Thus,

plaintiffs who seek to impose liability on local governments

under    §   1983 must prove that action pursuant to official

municipal policy caused their injury. Monell, 436 U.S. at 691.

Specifically, there must be an affirmative link between the




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policy and the particular constitutional violation alleged. City

of Oklahoma City v. Tuttle, 471 U.S. 808, 823         (1985).

     Proof of a single incident of unconstitutional activity is

not sufficient to impose liability, unless proof of the incident

includes proof that it was caused by an existing,

unconstitutional policy, which policy can be attributed to a

municipal policymaker. Tuttle, 471 U.S. at 823-24.          (If the policy

itself is not unconstitutional, considerably more proof than a

single incident will be necessary to establish both the requisite

fault and the causal connection between the policy and the

constitutional deprivation. Id. at 824.) Thus, to establish

governmental liability requires proof of three elements: a

policymaker, an official policy, and a violation of

constitutional rights whose moving force is the policy or custom.

Piotrowski v. City of Houston, 237 F.3d 567, 578 (5th Cir. 2001).

      The Fifth Circuit has been explicit in its definition of an

•official policy• that can lead to liability on the part of a

governmental entity, giving the following explanation in an

opinion issued en bane in response to a motion for rehearing in

Bennett v. City of Slidell:

     1. A policy statement, ordinance, regulation, or
     decision that is officially adopted and promulgated by
     the municipality's lawmaking officers or by an official
     to whom the lawmakers have delegated policy-making
     authority; or


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        2. A persistent, widespread practice of city officials
        or employees, which, although not authorized by
        officially adopted and promulgated policy, is so common
        and well settled as to constitute a custom that fairly
        represents municipal policy. Actual or constructive
        knowledge of such custom must be attributable to the
        governing body of the municipality or to an official to
        whom that body had delegated policy-making authority.

             Actions of officers or employees of a municipality
        do not render the municipality liable under § 1983
        unless they execute official policy as above defined.

735 F.2d 861, 862       (5th Cir. 1984)    (per curiam).

        The general rule is that allegations of isolated incidents

are insufficient to establish a custom or policy. Fraire v. City

of Arlington,     957 F.2d 1268, 1278 (5th Cir. 1992); Mcconney v.

City of Houston, 863 F.2d 1180, 1184          (5th Cir. 1989); Languirand

v. Hayden, 717 F.2d 220, 227-28 (5th Cir. 1983).

C.      Deliberate Indifference to Medical Needs

        To prevail on a claim for denial of medical care, plaintiffs

must show acts or omissions on the part of the actor sufficiently

harmful to evidence deliberate indifference to serious medical

needs. Estelle v. Gamble, 429 U.S. 97, 106 (1976). That is, they

must show that the actor both knew of and disregarded an

excessive risk to Freeman's health and safety. Farmer v. Brennan,

511 U.S. 825, 837 (1994). The showing requires an inquiry into

the actor's state of mind. Id. at 838.          "Deliberate indifference

encompasses only unnecessary and wanton infliction of pain

repugnant to the conscience of mankind." McCormick v. Stalder,

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105 F.3d 1059, 1061 (5th Cir. 1997) (citing Estelle, 429 U.S. at

105-06) . The standard is extremely high, requiring evidence of

egregious intentional conduct. Gobert v. Caldwell, 463 F.3d 339,

346, 351 (5th Cir. 2006). The actor must have "refused to treat

[Freeman], ignored his complaints, intentionally treated him

incorrectly, or engaged in any similar conduct that would clearly

evince a wanton disregard for any serious medical needs." Id. at

346. See Estelle, 429 U.S. at 104 n.10                              (citing cases of

deliberate indifference by prison doctors) . Mere delay in medical

care constitutes an Eighth Amendment violation only if there has

been deliberate indifference that resulted in substantial harm.

Easter v. Powell, 467 F.3d 459, 463                           (5th Cir. 2006).

                                                      v.
                                                 Analysis

A.      Claims Against Sheriff

        Plaintiffs sue Sheriff in his official capacity.' Doc. 18,

~    7. The law is clear that a suit against a defendant in his

official capacity is a suit against his employer. Kentucky v.

Graham, 473 U.S. 159, 165-66 (1985). Plaintiffs' claims against

Sheriff are duplicative of the claims against County and must be



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         1f plaintiffs intended to sue Sheriff in his individual capacity, they failed to allege any facts to
show that he was personally involved in any deprivation of Freeman's rights. That is, they have not
alleged any acts or omissions on Sheriffs pmt to evince deliberate indifference. See Estelle v. Gamble,
429 U.S. 97, 106 (1976).

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dismissed. Castro Romero v. Becken, 256 F.3d 349, 355 (5th Cir.

2001); Fisher v. Dallas Cty., No. 3:12-CV-3604-D, 2014 WL

4797006, at *6 (N.D. Tex. Sept. 26, 2014).

B.      Claims Against County

        Plaintiffs have not alleged sufficient facts to establish a

claim of liability against County. Although they allege that

Sheriff was a policymaker, they have not established an official

policy, custom, or practice of County that caused a violation of

Freeman's constitutional rights. They have alleged nothing more

than conclusory allegations. And, the facts they have pleaded

show that Freeman received medical treatment and care. 3                                     See

Stewart v. Murphy, 174 F.3d 530, 534                         (5th Cir. 1999) (active

treatment of medical conditions even if negligently administered,

does not constitute deliberate indifference); Banuelos v.

McFarland, 41 F.3d 232, 235                   (5th Cir. 1995) (medical records of

sick calls, examinations, diagnoses, and medications may rebut an

inmate's allegations of deliberate indifference).

        Plaintiffs refer to the Texas Constitution in their amended

complaint. Doc. 18, ,               19. However, Texas does not have an implied

private right of action for damages for violation of

constitutional rights. City of Beaumont v. Bouillion, 896 S.W.2d




        'Defendants have provided in their appendix copies of the jail records plaintiffs quote and
reference in their amended complaint. Doc. 21.

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143,   147-48   (Tex. 1995). That is, Texas does not have a             §   1983

equivalent. Allison v. City of Fort Worth, 60 F. Supp. 2d 589,

596    (N.D. Tex. 1999).

                                    VI.

                                  Order

       The court ORDERS that defendants' motion to dismiss be, and

is hereby, granted, and that plaintiffs' claims against

defendants be, and are hereby, dismi7seq.                                           /
                                                                                   •'

       SIGNED January 28, 2019.                      ,'
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                                            c/




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